                                                                                                                                                        t


                                                                                                                                                        q




            0)     a    H     H.   W          0)     it    in    W     Di     CI)    U)    N
in     it   Z     CD    CD    Z    I-’                                                                ‘        0     Di         Z          C
                                                     H     C     I-’          CD     C)    in         it       H-   t           H          Z
in     it   a     it    4     4    a     it   ‘—I-   H-    C)    ai    C)     H      H-               it
H-     0                                                                                  ,Q                   in   ‘0          C)        H
                  CD    H-    CD   H     it   C      CD    Z     H     0      0)     0)       •       0        it   H
in     H    it    H           to   -
                                                                                                                                          S
                                              a      a           —      S     ‘—‘    ii   —           H        Ii   H-                    N
it     Z    0           C     it   C)    H    H-           Di    Z     ‘0            H                Z        H-
0)     CD          H-         H-                                              a                                     C)                    0
                                              C)     C                 H             0)               CD       C)   0)
Z     ‘4    ‘0     Z    CD    C    -     ‘0   H-     H-    Hi    —.    CD     0               ‘O’4             it   it
it          H     CD    )4    0)   H     C    Di     it          -J                                                                       U)
                                                           H-          )C     •     —.        CD                    H-          C)        S
       Hi    CD         it    it         H    H      Z’    Z                         0’   it’                  0    0
C      0    ‘0                                                                                                                  •
                  C     CD    H-’        in          H-    a           C)           ‘4    CD                   Hi   Z      5              S
•      H     0*   Z’    Z     0          C    0      Z     H-    W     0’    H-                                                      4
U)           H    CD                                                                      H  0)                                 U)   •    Cr3
                        in    Z  01      0)   Hi           Z           in    H       ‘       Z              Z       0      H-   C)        U)
•     it     CD   it    H-       Z       Z    H)     -.1   C     -.    CD    H                <    a        CD      Hi     in   H
                  z’    i     w    a     it   H-C                H-          CD      it   CD                C                             0
‘     CD    Hi    CD    CD    Z               C)           it    H-
it                                                                     ‘0    H       Z’            a                o      a              ‘Ti
            0     H           a    it    it   CD  a        Z            C            0
                                                                                          zit      CD       C.j     Di     0’
it    0     H           a          Z’    0    H   Di       0*    ‘.     H            Z    H  Hi             CD
o     H-          it    H-    it   CD                                                                               C      it
                                                 ‘4        it           in    Lxi   ‘4    H- CD             H       H      it   ‘                   C
H     in    it    0      in   Z’              H-  in
                                                                                                                                                            Case 2:09-cr-00863-SRC




                                         S                       0)     C     in          C) Z              in             CD             L’i
Z     it    H            C)   CD   C)    H-   Z             it   Z      Dl   ,Q      4
                                                                                     C    CD                CD      4
                                                                                                                    C
CD    H     H-    Hi     0         Z’    it                                                  a                             H    CD        t         H
                                                  0         Z’   a      Z            •    H  Dl            ‘4       •           it        H
‘C    H-    0)    H-     4    aDi        H    it  Hi        CD          it                HZ
‘     C)    H     H      CD   CD   H     CD                                                                                D’
                                                           ‘4    it                  PU   H-      it       —.       Prj    0’   0’
      it    ‘.    CD     H    Hi   C          H-     it
 0)                                                              Z’    it    Hi     0             in        0’      H-     4    H
                        ‘4    CD   CD    H    in     Z     C     CD    0     0      ‘0    —                ‘4       (0     H-   •
‘0    0     Di    Pa          Z    in    ®           CD    0                 H      CD    0’      Z
‘0    Hi    z     z     w                                                                                                 Z                     H
 CD
                              a               a            C     as                       “C      H-       t’             C
            a     ‘4    Z     Di   0’0        H      a     H     CD H-       0)                   C)       CD                   ••   ••
w     z                 a     Z    CD Hi      in           a     Hi    it    z      i     .       Z’       in Z           C)
H     CD    ‘0     0)         it   H-         it     it          CD    H             in   H       0)       H’
H-    C     Dl    a     it    in   Z  it                                                                                  0
                                              H      CD    Z’    Z     CD    0            it
                                                                                                                                                            Document 59




Z           C     a     0          C  Z       H-           0)
                                                                                    ,Q            CD       H-             S                     t4
                                                                                                                                                o
C     4
      C     H                                                    a           H      •     Z’      H        CD C           CD                    0
                                                                                                                                                ‘Ti
                  H-          Z       CD      C)  0        4     Dl    H     a      ‘—    C
      CD          it    H-    CD   it         it  Hi       CD                                              si                   10   C)   X
       H    4
            C                                                    Z           CD           H       C)          H-O               tt   H    0     U)
                  H-    Z     CD                                       ‘     H                    •         0)      It    CD
Z’    in    •     0     4          CD          H-it                                                                             10   H-   Z
                              a          Z                 w     in                 0)    iI               ‘C       CD    Hi              •
0)     CD         Z     CD    H-         H-    Z  Z’                   C            Z     0’      U)       CD
                                                                                                                                     S
4     ‘4    ‘xj   0)    in                                                   a                                      a     0          •              H
                              Z    H     it       CD       H     0’    Z     CD     a     H       C)                      H               U)
H-          H-    H     it    C    CD    CD    C) H-       H-    CD    H-    C)
                                                                                                                                                fl
Z     n     in          H-                                                                Di      H-       U)       U)    CD         Z
                                   in    a    .0  H        C     H-    it    H      Z     5       pa       C)       it               0
C     t’    ‘     SC          in   C                       Z’                Di
                                                                 Z     CD           0*    in      H        D’       0*    it         •    Z
      CD          0     DI    C    H     U)   Z      Hi    it    C     a     H      H     ‘       H                 it
C)    in          it    it    Hi   it    it   CD     H-
                                                                                                           C              Z               H
0     H                                                                      H-     c’            DI       Dl       CD    CD         C    CD
         Z        H-CD        Hi         DI   C)     H     it    Di
                                                                                                                                                            Filed 07/26/10




Z     H-’                                                              U)    Z            N                H        in               W    ‘4
                  0           H-   0     It   it     in    0     C     it    C      ‘4    in      -        it             C)
C)    CD          Z  it       C)   Hi    CD   H-it               0)    DI
                                                                                                                                     I              S
C                 in                                                                CD    ,Q       0’      N        >     0
            C        Z        H-         in   0            0’    H     it    it     Z      •      ‘4       ‘        it    C
H     ‘Ti   Z           CD    CD   0)                                                     -                                          Ui
                                              Z      Di    CD    CD    CD    Z’     it                              it    H          Ca
H     Di    H-    H-          Z          C)      ‘0                    in    H-     H     ‘       N         $  0          it              C)
CD    ‘4    it    Z     C)    it   H     0    C  ‘0        H     it          in     H-
a     CD    CD          Z’         CD                                                             a        in  H
                                         a    H-CD         H-    z’    n                  z       a        in  z          0          U)   CD
            a     it    DI    it   Z     CD   it  Dl       C     Dl    0     5
                                                                                    oCD   H-      C        H-CD
H-    U)          Z     H     H-   C     ‘    ‘   H                                                                       Z          t    in
Z     C)                                                   Z’    it    a     0’     H     C)      Z        in ‘4                     C)   H
            U)    H-    C     S    it             ID       it          CD    it     H     Z’               it
      Z     it    in    CD    CD   Z     U)   it                                                  a                       it              CD
                                                  Z              Di    ‘     it     H-    0)               Dl       Hi    Z’
it    C     Di          in         ‘4    CD   Z’  C)       it    0’                                                                       H
      Di    it    C)    ‘     it                                             CD           CD      0        Z        0     CD
                                         C)   H-     CD    0     in    U)    H      —     H       CD       it       H
CD    H     CD    Di          0          It   in                 CD    CD
      it    in                                                                      0’            Z                       ‘-l
                  in                     H-          0’    0’    Z     C)    it     ‘4    1       0        C        it    0
      N           CD                     0           CD    CD    it    it    0            •       H-       •        ‘     H
                                         Z           Hi                H-                         Dl       U)       CD    Z
                                                     0                 0     0’                   ‘        •              it
                                                     H                 Z     CD
                                                     CD
                                                                                                                                                            Page 1 of 7 PageID: 483
U)    F-’     to     ft          a                  F’-     it            C)     0       F’•           0
t     CD     a       a.          CD                                                                                             CD    0     to    to
                                             a.     a       j-            o      o       ft                         CD          a     Hi          to
CD    to     CD      CD          CD          F’-            z
                                                                                                       aa
                                                                                                                                ft
CD    to     a                                      aF-’                                                                                    a     to
                                 a           a              CD           to              i-’-          C            a           CD    ft
a     ft      C      0                       a.     C                    CD
                                                                                ‘atoB
                                                                                          a            H            0
              to     to          to                                                                                             H     a.    ft    H
                                                    a       ft            a                            ii                             CD    a.    ft
       t      t      to          a           B      CD      o             to
                                                                                 aft     ai-’
                                                                                                       CD
                                                                                                                    aft
s     a.      CD     m                              to                                                                          a           CD
                                 a           a                            C              C             a            F’-               ‘a
H     H                          F’-         to             i-i           to     a       a
F’-   CD     ‘a      to          ft          ft
                                                                                                                    a                 ‘-t   C)    a
                                                    a       CD            I-’    F’-     CD            0            C           to    0     0
to    CD      H      a      UI   F’-   a                    4     W       I-’    to      to     Ls)          I-’    CD    H
I-’           CD            •
                                                    E                                                  4                        a     0     C     ft
                     a           o     •     a’             F’-   •      ‘<      a              •      CD    •                        CD
      E                                      CD     CD
                                                                                                                    a     s     a           ‘1    a.
                                 a                          CD                   to                    H                              CD    ft    to
 $    CD
             ‘ato
                     F’-         to                 H       E            H               to                         b     H     t-t               Ct
O     CD      H      ft     H    I-’   H     H      0             1-3    CD     to       B      1-3    to    t-3    0     CD    0
                                                                                                                                      a
                                                                                                                                      F’-
ft    ,c      to     to     a          a     CD     C       ft    a’     o a             0             CD           H
                                                                                                                                            a.
•     to      ft                 ft                 to
                                                                                                a’                              H     a     to    ft
                                             4              a.    CD                            CD
                                                                                         a                   aF’-
              F’-    0     F-’   F’-   F-’   F’-
                                                                         o a                           4                              C           a.
                                                            CD           H              C              CD    to     ft    SC          to    F’-   F’
      E       0            F’-   B     F’-   CD     a             a      an                            H                  ti
      F’-                                                                                       a                   a.        o             a     to
                                                                                                                                                        Case 2:09-cr-00863-SRC




              a            C     CD    C     E      H       CD    CD     CD to           0      F’-    to    0      CD        0       F’-   C
      ft            ‘a     a.          a.    CD    to       <     fr-b   a to            ft     to     F-’   to           rrj
      a.      Hi     F-’   ft    ft    ft    a     Hi      ft     CD        to           a’     a            to     i-    H
                                                                                                                              a       a           B
      F’-     0      CD          0                 ft                                                                                       Hi    to
                                                           CD     a      a CD            CD     0      ‘C    CD     0     Z   to      ft    0     ct
      a       i-s    c     o           o     Hi                   a      o ft            H      4      CD           F-’
                     F’-   Hi    F’-               ft                                                                     o   a       a’    C     ft
                                       Hi    0
                                                           ato
                                                                  to     a ft                   CD     to    F’-    i-’   H   a       CD    a     CD
      ft     ft      ft          a           H     H       F’-    a      4      CD       ft     H      H            0
      a-      a.    ‘C     ft          ft
                                                                                                             a            Z                 a     H
                                 4                 to      4      ft     CD              a.     ‘C     to    4            0   to      to
      CD     CD            a.    CD    a.    to            CD     to     H      ft       F’-           •     0      F’-
                           CD    to    CD
                                                   ato                                                                        C       a’    ft    F’-
                                             0                           to     to       a      F’-          F-’    a     0   Hi      0     a’    to
      ft     ft      F’-   to    ft          0     0       a      to     to     ‘a      C
      F’-    H       ft    CD    F’-   to
                                                                                                a            4      C     “3  Hi      4     to
                                             C      H      F’-    a      ft      CD     to                   CD                 F’-   CD    ft    fl
      B      F’-                 C     CD           F’-
                                                                                                                                                        Document 59




                                             H             to     a      F’-    to              ft           to     H     5     0      I          0
      CD     to      F’-   Hi    to    H     to    ‘a      0             0                      a.                  CD    S     F’-
             F-’     to    F’-   ft    F’-    0    ft      0      ft
                                                                                                                                      0     to
      F-’                                                                a               to     F’-          to     to    H     CD    to    a
                           a     CD    0     ‘C    to       4            to     0       ‘a      to           ,_a    to    cn
      F’-    E       a     a                                                                                                    a     ‘a          I-’
                                       C     •              CD           •
                                                                  aCD
                                                                                0       ‘a                   F-’    0           ft    ft    0     CD
      B      a.      a     F’-   ft    to          0        H     F’-                    H      A            CD                       F’-
      F’-    F’-     H     a     a.                Hi
                                                                                                                          n                 H     (
                                                           ‘C     H
                                                                                aft
                                                                                         0      to
                                                                                                                    ato
      ft     0       CD                                                                                      C            0     Cl    o     a
                           C     CD    to                                       to       X      to           to     ••    C     to    a     CD    to
      to     a.      to    to          F-’         ft      F’-    0             F’-      F’-    CD           ft
                    to                 i-’                                                                                      C     CD    H     to
                                 a                 a.      a      0             a                            F’-          s     to    a
      CD     F’-    0            a.    CD          CD             C             F’-
                                                                                        sto     F’-          0                  CD
      to     to      a     to    to    C                   ft                                                                               C     a
      ft                                                          a’            a               to           a            rt          B     H     CD
                    to     a     H     to          0       a.     to            C       CD                   to           a.    to    to    to    Hi
      to
                                                                                                                                                        Filed 07/26/10




              CD    0’     a     C     ft          0       F’-    CD                    i--’    to                        to    a.    ft    a     F’-
      0’      )C    F-’          CD    F’-         a       to     i-’           a.      ‘C      F’-          0            ft    0     ft    ft
      I-’    ‘a     CD     C     to    0           to                           C               C            Hi                       CD    F’-
                                                                                                                                                  a
      i-’-   CD            F’-   •                 CD                                                                           E                 CD
      to                                                   B      a             a       to                                ft    a     H     a     a
             0      ft
                                       ato
                           4                               w      CD
                                                   a                                    CD
                                                                                                aF’-
      a.     ft     0      CD                                                   a                            CD           a.                C
                                                   to      ft     CD            H       4       Hi                        F’-         to          F’-
      CD     CD            a                       C       ft     a             CD      CD      F’-          ft           to
      a      a      CD                 ft                                                                                             a.    to    a
                                                   to      CD                   a       a       0            0                        0
                    x      n           a.          F-’     H      to            to      ft      to           H            to                      ft
      C      ft     ‘a     a.          CD                                                                                             C     0
             0       CD
                                                                  a                     ‘C                   ft           a           i—’   0     a.
      a                    CD                      H                            0        I
                                                                                                aft
      a                                                           a                                          F’-          ft          a     a     CD
                                       a           CD      E      F’-           Hi       Hi                  0            F’-               ft
      CD     F-’
                    aft
                           a           CD          a       a.                           F’-                  a            0           a’    F’-   to
      H      to            to          Hi          0       F’-    F’-           a.      4       F’-                       a           CD          ft
             to            ft          CD          H       0      0             0       CD      a            ft
                                                                                                                                            a
      ft     ft            C            a          a       a.                                                                               C     to
      a.                   H                       F’-
                                                                  a
                                                                  to
                                                                                a                            a.           to                to    ft
      CD     to
                                       a                                        H               ft           to           a.                a     C
                           CD          to          a              F-’           to              a.           ft           0                 0     ft
             ft                                    C                                            to                        C
                           0
                                       aft
                                                   to                                                                                       CD    CD
                                                                                0               ft                        F-’
                           Hi          to                                       Hi
                                                                                                                                                        Page 2 of 7 PageID: 484




                                                                                                                          a
                C)    N)             CD          C)               U)    C)     N)          CD       ft        0     C)
                C)    C)             U)          CD               CD    0      N)          U)       U)        C)    C)
                U)    N)             0           CD               N)    C)     C)          U)       CD              C)
                CD    C)             <1          CD               CD    ft     N)          H-                 Cl    çt
                1                    CD          -.               C)    H-                 ft       U)        C)    H-
                      CD                                          U)    C)     U)          H-       CD        N)    C)
                ft    C)             C)                           CD    C)                 C)       N)        <     C)
                U)    U)            CD                            C)    CD    -            C)       CD              CD
                CD                  U)                            ft    C)     N)          CD       C)        N)    C)
                      U)            ft                            CD    C)                 N)       U)        -     C)
                U)    CD       N)    H-    N)          U)               CD    —--    CX)            CD   -J         CD
                U)    C)       H     0     H           U)   U)    H-                       $     C)           N)
                CD    C)             C)                U)   U)    C)    0     —U                 ft           C)
                CD    CD       N)    CD    N)          U)   U)          C)    -            ft    CD           N)    ft
                U)    1        U)    U)    U)          U)   U)    CD    ft           U)    H-            H    C)    U)   H
                1<   L<                                U)   U)                ft     C)    0     ft      U)         H    C)        -
                               U)          U)          U)   0     CD    CD    U)     lj    C)    0       CD         0    CD
                H              U)    CD    U)                U)   U)    H-    CD     CD    CD                       C)
                1    ‘         U)   ft     U)          ft    U)    CD   U)           C)         CD       U)
                H-                                                                                                       U)
                                                                                                                                       Case 2:09-cr-00863-SRC




                               H    ft     H           U)   -      CD   U)    CD     CD         U)       Ii         U)   CD
                CD   N)        U)   CD     U)          CD          U)         C)     C)    CD   CD       CD              N)
ft              N)   C)        U)    fri   U)          ft   H-    -<    ft           ft
0                                                                             U)           C)   U)       C)         ft   CD
                     N)        U)          U)               ft          C)    CD           U)   C)       ft
                CD   C)
                                                                                                                    U)   C)
                                    CD                 ft         ft    CD           ft         CD                  CD   U)
N)              C)         0        hi     0           U)   H-    h           0      0          ft
C)                                                                                         U)            C)         H-   CD
                ft   CD    U)       CD     U)          H-   CD    H-    U)    N)           11   CD       N)         Il
                     U)                                                                                                  C)
                           U)              U)          CD         CD    CD           H     0    N)                       ft
                0    CD    U)       C)     U)               0     N)    CD    f-i-   H-    C)   NC       CD
                N)   N)                                                                                             C)   CD
                           U)       0      U)               C)          ft    C)     ft    CD                       0
CD                   N)    U)       C)     U)          CD                     CD     N)
C)                                                                                         CD    11      C)        C)    C)
                N)         U)       ft     U)         ft    ft          H-    ft     CD          CD
U)              co                                                                         U)            0         C)    0
                     U)             H-                ft
                                                                                                                                       Document 59




                                                            U)          C)    H-                 <C      C)        CD    C)
                N)   CD    ft       C)     ct         CD    H-          ft    C)     N)
CD   C):                                                                                   DC    H-      ft        CD    CD
                           U)       C)     U)         hi    CD          CD    CD     Co    H-    CD      H               CD
C)   C)         •    CD    CD       CD     CD                           1-I                ft
ft   H-                                                                                          DC      C)              C)
                           ft       U)     ft                           CD    CD           U)            C)              ft
     ft              C)                               CD    \\          CD    CD     CC          it
     CD                                                                                                  CD        U)    CD
                     N)    ft       N)     it                           ft    hi     C)    ft    U)      C)
     U)                                                                                                            C)    U)
                                                            .
                     C)    U)       hi     U)          U)               CD    <      H-    11    CD      C)        hi
U)                   U)    CD       0      CD          CD                     CD     ft    H-
     U)                                                     N                                            CD        H-    ft
                     CD                                H                0     U)     CD    CD    U)                C)    0
     ft              U)    U)              U)          CD               N)                 N)
     CD                                                                              U)          H-      DC        U)
                     N)    CD        U)    fri         U)   U)\               U)                 CD      H-              ft
     ft              CD    hi        C)    0          NC    CD \        ft    NC     U)          C)      N)
     CD                    H-                                                                                      CD    U)
                                     N)
                                                                                                                                       Filed 07/26/10




                                           C)               -<          U)           ft          0       N)              CD
     CD              H-    0        NC     CD         U)                CD    U)     CD          <1                ft
           U)        C)    U)              CD         CD    0                 hi     ft          CD      CD        CD    CD
                                    N)     U)         CD    N)          U)    CD     CD          fri     C)        N)
     H                                                                                                                   N)
                     C)    U)              H-         H-                C)    C)     CD         NC       CD        CD    0
     CDC)            0     CD              C)         U)    U)          U)    ft                -        U)        U)    fri
     ftU)                  ft       N)     U)         C)    C)          N)    H-     C)                  N)
     flU)                           C)
                                                                                                                   U)    CD
                     U)    DC              CD         CD    N)          H-    C)     0          U)       CD
     H- U)           C)    CD       N)                ft    L<          C)    U)     U)                            C)    CD
     C) ft           ft    CD       C)     H-         CD                             CD         CD
     ftU)            H-                                                                                  C)        CD    C)
                           C)              C)         U)    N)          CD    ft                U)       0               ft
           U)        C)                                     C)          C)                                                     -
                                                                              U)                CD       C)        C)    H
     U)              U)    U)       CD     ft         CD    N)          U)    CD     U)         hi       C)
     C)                                                                                                            0     0
                           C)       C)     U)               C)                       CD         CD       CD        C)    C).
     U)              ft    N)       U)     CD         C)                ft           C)                  CD              Cl)
     U)              H-                                                                                            N)
                           NC                         0                 U)           ft         CD       N)        CD    U)
     CD                                                                 CD           H-
                           N)
                                                                                                C)                 ci
                     CD                               U)                             0          1<       hi        CD
                           -                          N)                             C)                  0         C).
                                                      CD                                                 ci        C)
                                                      ><                                                           CD
                                                                                                                                       Page 3 of 7 PageID: 485
Case 2:09-cr-00863-SRC   Document 59   Filed 07/26/10   Page 4 of 7 PageID: 486




  Edmund DeNoia, Esq.
  Counsel for :ichael C.   Sciarra



  Trthur Abrarns, Esq.
  Counsel for Peter Ventricelli




  Anthony J. Pope, Esq.
  Counsel for Michael A.   Sciarra



  Gerald D. Mu; Esq.
  Counsel for Mark Ventricelli
    Case 2:09-cr-00863-SRC       Document 59   Filed 07/26/10   Page 5 of 7 PageID: 487




    EQmund DeNci, Esq.
    Counse  fDr Michael C.       Sciarra




    A-ithny C. Pope, sc.
    Ccse    for Michae A.        Sciarra



    Gerad D. Miller, Es.
    Conse1 for Nark Vertricelll




•    3      T(   fT   eT   J f
00                    mzI
Q(D                   0

n
              cDi     cD1
H                     H
                       D
                       CD
0                     0z
         11
     H                     H
   H                  H
ti(D          ft      0
              CDtxI   3tzI
                               Case 2:09-cr-00863-SRC




Cr            CD
                      0
              çt
H
0             H
CD       0    0       0
H        H    CD
H        CD   H       CD
H             H       M
         [1   H-
                      CD
                               Document 59
                               Filed 07/26/10
                               Page 6 of 7 PageID: 488
tax [porn   iii*riiu                                          €7—161€   7:18a   :
                                                                                9
                                                                                p      5
     Case 2:09-cr-00863-SRC   Document 59   Filed 07/26/10   Page 7 of 7 PageID: 489




       Edmund DeNoia, Esq.
       Counsel i.or Michael C.   Sciarra



       ArthurAbrarns, Esq.
       Counsel for Peter Ventricelli




       Anthony J. Pope, Esq.
       Counsel for Michael A.    Sciarra



              /c)2y--
       Gerald//?Xler,    Esq.
       Counsdl for Mark Ventricelli
